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                       EXHIBIT G
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                      COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT     DESIGNATION     PAGE     LINE     PAGE       LINE     OBJECTIONS
               TYPE
Cohen, Jamie   Comcast's         7        5        7         11
               Affirmative
               Designation
Cohen, Jamie   Touchstream's     11       5        11        23      IMP
               Counter
               Designation
Cohen, Jamie   Comcast's         11      25        12        13      I
               Affirmative
               Designation
Cohen, Jamie   Comcast's         12      17        12        20      I
               Affirmative
               Designation
Cohen, Jamie   Comcast's         23       8        23        12      I
               Affirmative
               Designation
Cohen, Jamie   Touchstream's     23      15        24        13      IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Comcast's         29      15        29        22
               Affirmative
               Designation
Cohen, Jamie   Comcast's         52      12        53        24      F
               Affirmative
               Designation
Cohen, Jamie   Comcast's         54      22        54        25
               Affirmative
               Designation
Cohen, Jamie   Comcast's         55       8        55        15
               Affirmative
               Designation
Cohen, Jamie   Comcast's         98      20        98        23
               Affirmative
               Designation
Cohen, Jamie   Comcast's         99       5        99        9
               Affirmative
               Designation
Cohen, Jamie   Comcast's        111      19       111        21      SM
               Affirmative
               Designation
Cohen, Jamie   Comcast's        115      14       116        5       F, R, P, SM
               Affirmative
               Designation
Cohen, Jamie   Comcast's        121      14       121        18      F, R, P, SM
               Affirmative
               Designation
Cohen, Jamie   Comcast's        122       3       122        8       F, R, P, SM
               Affirmative
               Designation

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                      COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT     DESIGNATION     PAGE     LINE     PAGE       LINE       OBJECTIONS
               TYPE
Cohen, Jamie   Comcast's        122      13       122        23        F, R, P, SM
               Affirmative
               Designation
Cohen, Jamie   Comcast's        138      11       139        22        F, R, P, SM
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    144       1       146        25        IMP; FRE 106, 402,
               Counter                                                 403, 802; Atty
               Designation
Cohen, Jamie   Comcast's        208      24       209        21        I, F
               Affirmative
               Designation
Cohen, Jamie   Comcast's        217       5       217        20        I, F, R, P, SM
               Affirmative
               Designation
Cohen, Jamie   Comcast's        218      19       218        25        I, F, R, P, SM
               Affirmative
               Designation
Cohen, Jamie   Comcast's        220      16       220        20        I, F, R, P, SM
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    220      21       221            5     IMP
               Counter
               Designation
Cohen, Jamie   Comcast's        221       6       221        17        I, F, R, P, SM
               Affirmative
               Designation
Cohen, Jamie   Comcast's        221      23       222        2         I, F
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    222       3       222            8     IMP
               Counter
               Designation
Cohen, Jamie   Comcast's        222       9       222        25
               Affirmative
               Designation
Cohen, Jamie   Comcast's        225       8       225        11        I
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    225      25       226        13        IMP
               Counter
               Designation
Cohen, Jamie   Comcast's        229      24       230        18
               Affirmative
               Designation
Cohen, Jamie   Comcast's        231      16       232        3
               Affirmative
               Designation

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                      COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT     DESIGNATION     PAGE     LINE     PAGE       LINE       OBJECTIONS
               TYPE
Cohen, Jamie   Touchstream's    232       8       232        21        IMP
               Counter
               Designation
Cohen, Jamie   Comcast's        232      22       233        10        I
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    232      22       232        25        IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Touchstream's    233       2       233        25        IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Comcast's        234      11       235        2         I
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    234      18       234        22        IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Touchstream's    235       8       235        21        IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Comcast's        235      22       236        2         I
               Affirmative
               Designation
Cohen, Jamie   Comcast's        237      15       237        20        I
               Affirmative
               Designation
Cohen, Jamie   Comcast's        238       9       238        13        I
               Affirmative
               Designation
Cohen, Jamie   Comcast's        238      24       239        4         I
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    238      24       239            4     IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Comcast's        239       7       239        9         I
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    239       7       239            9     IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Comcast's        239      15       240        2         I
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    240       3       240        22        IMP; FRE 402, 403;
               Counter                                                 Atty
               Designation

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                      COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT     DESIGNATION     PAGE     LINE     PAGE       LINE       OBJECTIONS
               TYPE
Cohen, Jamie   Comcast's        240      23       241        16        I
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    242       4       242        13        IMP; FRE 402, 403,
               Counter                                                 802; Atty
               Designation
Cohen, Jamie   Comcast's        243       6       243        19        I, R, P, SM
               Affirmative
               Designation
Cohen, Jamie   Comcast's        243      22       244        7         I, R, P, SM
               Affirmative
               Designation
Cohen, Jamie   Comcast's        244       9       244        17        I, R, P, SM
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    244       9       244        17        IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Comcast's        244      24       245        7         I, R, P, SM
               Affirmative
               Designation
Cohen, Jamie   Comcast's        246       4       246        7         I
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    246       8       246        23        IMP; FRE 402, 403,
               Counter                                                 602
               Designation
Cohen, Jamie   Touchstream's    246      24       247            7     IMP; FRE 402, 403,
               Counter                                                 602
               Designation
Cohen, Jamie   Comcast's        247      22       247        25        I
               Affirmative
               Designation
Cohen, Jamie   Comcast's        248      23       249        6         I
               Affirmative
               Designation
Cohen, Jamie   Comcast's        249      20       250        2         I
               Affirmative
               Designation
Cohen, Jamie   Comcast's        250      10       250        12        I
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    250      10       251            4     IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Comcast's        251      14       251        18
               Affirmative
               Designation

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                      COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT     DESIGNATION     PAGE     LINE     PAGE       LINE       OBJECTIONS
               TYPE
Cohen, Jamie   Touchstream's    251      14       251        22        IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Comcast's        251      25       252        13
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    251      25       251        25        IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Touchstream's    252       2       252        24        IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Comcast's        252      18       252        24
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    253      11       253        25        IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Touchstream's    254       2       254        25        IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Touchstream's    255       2       255        17        IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Comcast's        256       2       256        25
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    256       2       256        25        IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Touchstream's    257       2       257        25        IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Touchstream's    258       2       258        25        IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Touchstream's    259       2       259        25        IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Touchstream's    259       7       259            7     IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Touchstream's    260       2       260        12        IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Comcast's        261      11       261        14
               Affirmative
               Designation

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                      COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT     DESIGNATION     PAGE     LINE     PAGE       LINE       OBJECTIONS
               TYPE
Cohen, Jamie   Touchstream's    261      15       261        25        IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Touchstream's    262       2       262            2     IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Touchstream's    262       7       262        22        IMP; FRE 402, 403
               Counter
               Designation
Cohen, Jamie   Comcast's        263      13       263        16
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    263      13       263        25        IMP; FRE 106, 402,
               Counter                                                 403, 802
               Designation
Cohen, Jamie   Comcast's        263      21       264        21
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    264       2       264            6     IMP; FRE 106, 402,
               Counter                                                 403, 802
               Designation
Cohen, Jamie   Touchstream's    264      11       264        21        IMP; FRE 106, 402,
               Counter                                                 403
               Designation
Cohen, Jamie   Touchstream's    265       2       265            7     IMP; FRE 106, 402,
               Counter                                                 403
               Designation
Cohen, Jamie   Touchstream's    267      10       267        16        IMP; FRE 106, 402,
               Counter                                                 403, 802
               Designation
Cohen, Jamie   Comcast's        269      18       269        24        I
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    270      17       270        25        IMP; FRE 106, 402,
               Counter                                                 403
               Designation
Cohen, Jamie   Touchstream's    271       2       271            3     IMP; FRE 106, 402,
               Counter                                                 403
               Designation
Cohen, Jamie   Touchstream's    273       9       274            9     IMP; FRE 106, 402,
               Counter                                                 403, 802
               Designation
Cohen, Jamie   Touchstream's    276       9       276        20        IMP; FRE 106, 402,
               Counter                                                 403, 602, 802
               Designation
Cohen, Jamie   Touchstream's    277       2       277        10        IMP; FRE 106, 402,
               Counter                                                 403, 802
               Designation

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                      COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT     DESIGNATION     PAGE     LINE     PAGE       LINE       OBJECTIONS
               TYPE
Cohen, Jamie   Touchstream's    277      15       277        24        IMP; FRE 106, 402,
               Counter                                                 403, 802
               Designation
Cohen, Jamie   Comcast's        278      13       278        15
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    279      25       279        25        IMP; FRE 106, 402,
               Counter                                                 403, 802
               Designation
Cohen, Jamie   Touchstream's    280       2       280            3     IMP; FRE 106, 402,
               Counter                                                 403, 802
               Designation
Cohen, Jamie   Touchstream's    280       5       280        24        IMP; FRE 106, 402,
               Counter                                                 403, 802
               Designation
Cohen, Jamie   Touchstream's    281      18       281        23        IMP; FRE 106, 402,
               Counter                                                 403, 802
               Designation
Cohen, Jamie   Touchstream's    282      25       282        25        IMP; FRE 106, 402,
               Counter                                                 403, 802
               Designation
Cohen, Jamie   Touchstream's    283       2       283        25        IMP; FRE 106, 402,
               Counter                                                 403, 802
               Designation
Cohen, Jamie   Comcast's        289       2       289        9         I
               Affirmative
               Designation
Cohen, Jamie   Comcast's        290      10       290        23        I
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    291       6       291        25        IMP; FRE 106, 402,
               Counter                                                 403, 802
               Designation
Cohen, Jamie   Touchstream's    292       2       292            7     IMP; FRE 106, 402,
               Counter                                                 403, 802
               Designation
Cohen, Jamie   Touchstream's    297       5       297        20        IMP; FRE 106, 402,
               Counter                                                 403, 802
               Designation
Cohen, Jamie   Comcast's        299      12       299        17
               Affirmative
               Designation
Cohen, Jamie   Comcast's        300      23       301        24
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    300      23       300        25        IMP; FRE 106, 402,
               Counter                                                 403
               Designation

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                      COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT     DESIGNATION     PAGE     LINE     PAGE       LINE       OBJECTIONS
               TYPE
Cohen, Jamie   Touchstream's    301       2       301        12        IMP; FRE 106, 402,
               Counter                                                 403
               Designation
Cohen, Jamie   Touchstream's    301      19       301        24        IMP; FRE 106, 402,
               Counter                                                 403
               Designation
Cohen, Jamie   Touchstream's    302       9       302        25        IMP; FRE 106, 402,
               Counter                                                 403, 802
               Designation
Cohen, Jamie   Comcast's        303      17       304        6         R, P, SM
               Affirmative
               Designation
Cohen, Jamie   Comcast's        304       9       304        12        R, P, SM
               Affirmative
               Designation
Cohen, Jamie   Comcast's        304      17       304        20        R, P, SM
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    305       9       305        25        IMP; FRE 106, 402,
               Counter                                                 403
               Designation
Cohen, Jamie   Touchstream's    306       2       306            2     IMP; FRE 106, 402,
               Counter                                                 403
               Designation
Cohen, Jamie   Comcast's        316       6       317        9         R, P, SM
               Affirmative
               Designation
Cohen, Jamie   Comcast's        318      24       319        9         R, P, SM
               Affirmative
               Designation
Cohen, Jamie   Comcast's        321      14       321        17
               Affirmative
               Designation
Cohen, Jamie   Comcast's        327       6       327        12
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    327       6       327        12        IMP; FRE 106, 402,
               Counter                                                 403, 602
               Designation
Cohen, Jamie   Comcast's        327      25       328        19
               Affirmative
               Designation
Cohen, Jamie   Touchstream's    329      18       329        25        IMP; FRE 106, 402,
               Counter                                                 403
               Designation
Cohen, Jamie   Comcast's        329      22       330        23        I
               Affirmative
               Designation

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                      COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT     DESIGNATION      PAGE    LINE      PAGE      LINE         OBJECTIONS
               TYPE
Cohen, Jamie   Touchstream's     330      2        330           7       IMP; FRE 106, 402,
               Counter                                                   403
               Designation
Cohen, Jamie   Comcast's        331       2        331           9       I
               Affirmative
               Designation
Cohen, Jamie   Touchstream's     331      2        331           20      IMP; FRE 106, 402,
               Counter                                                   403, 602, 802
               Designation
Cohen, Jamie   Comcast's        332       9        332           21      I
               Affirmative
               Designation
Cohen, Jamie   Touchstream's     332      9        332           16      IMP; FRE 106, 402,
               Counter                                                   403
               Designation
Cohen, Jamie   Comcast's        334       5        334           11      I
               Affirmative
               Designation
Cohen, Jamie   Comcast's        335       2        335           6       I
               Affirmative
               Designation
Cohen, Jamie   Touchstream's     340      9        340           11      IMP; FRE 106, 402,
               Counter                                                   403
               Designation
Cohen, Jamie   Touchstream's     340     16        340           25      IMP; FRE 106, 402,
               Counter                                                   403, 802
               Designation
Cohen, Jamie   Touchstream's     341      2        341           17      IMP; FRE 106, 402,
               Counter                                                   403, 611, 802
               Designation
Cohen, Jamie   Touchstream's     341     19        341           25      IMP; FRE 106, 402,
               Counter                                                   403, 802
               Designation
Cohen, Jamie   Touchstream's     342      2        342           20      IMP; FRE 106, 402,
               Counter                                                   403, 611, 802
               Designation
Cohen, Jamie   Touchstream's     343     23        344           16      IMP; FRE 106, 402,
               Counter                                                   403, 802
               Designation
Cohen, Jamie   Touchstream's     344     23        344           25      IMP; FRE 106, 402,
               Counter                                                   403, 802
               Designation
Cohen, Jamie   Touchstream's     345      5        347           9       IMP; FRE 106, 402,
               Counter                                                   403, 802
               Designation
Cohen, Jamie   Touchstream's     347      9        347           22      IMP; FRE 106, 402,
               Counter                                                   403, 611, 802
               Designation

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                      COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT     DESIGNATION      PAGE    LINE      PAGE      LINE         OBJECTIONS
               TYPE
Cohen, Jamie   Touchstream's     347     25        347           25      IMP; FRE 106, 402,
               Counter                                                   403
               Designation
Cohen, Jamie   Touchstream's     348      2        348           6       IMP; FRE 106, 402,
               Counter                                                   403, 602, 611
               Designation
Cohen, Jamie   Touchstream's     348      9        348           25      IMP; FRE 106, 402,
               Counter                                                   403, 602, 611, 802;
               Designation                                               Atty
Cohen, Jamie   Touchstream's     348     19        356           6       IMP; FRE 106, 402,
               Counter                                                   403, 602, 611, 802;
               Designation                                               Atty
Cohen, Jamie   Comcast's        364      23        365           21      I
               Affirmative
               Designation
Lulla, Rajiv   Comcast's         8        9         8            11
               Affirmative
               Designation
Lulla, Rajiv   Comcast's         11      14        12            7       I
               Affirmative
               Designation
Lulla, Rajiv   Comcast's         12      10        12            14      I
               Affirmative
               Designation
Lulla, Rajiv   Comcast's         12      17        12            18      I
               Affirmative
               Designation
Lulla, Rajiv   Comcast's         13      12        13            15      I
               Affirmative
               Designation
Lulla, Rajiv   Touchstream's     13      12        13            15      IMP
               Counter
               Designation
Lulla, Rajiv   Comcast's         13      21        14            14      I
               Affirmative
               Designation
Lulla, Rajiv   Touchstream's     13      21        14            23      IMP
               Counter
               Designation
Lulla, Rajiv   Comcast's         14      24        16            5       I, SM, R, P, F
               Affirmative
               Designation
Lulla, Rajiv   Touchstream's     14      24        15            9       IMP
               Counter
               Designation
Lulla, Rajiv   Comcast's         17       5        17            10      I, SM
               Affirmative
               Designation

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                     COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT     DESIGNATION    PAGE    LINE      PAGE      LINE         OBJECTIONS
               TYPE
Lulla, Rajiv   Comcast's       17      24        18            2       I, SM
               Affirmative
               Designation
Lulla, Rajiv   Comcast's       18       4        18            4       I, SM
               Affirmative
               Designation
Lulla, Rajiv   Comcast's       18      11        18            17      I, SM, R, O, P
               Affirmative
               Designation
Lulla, Rajiv   Comcast's       18      19        19            2       I, SM, R, O, P
               Affirmative
               Designation
Lulla, Rajiv   Comcast's       19       4        19            7       I, SM
               Affirmative
               Designation
Lulla, Rajiv   Comcast's       19      21        20            3       I, SM
               Affirmative
               Designation
Lulla, Rajiv   Comcast's       20       6        21            3       I
               Affirmative
               Designation
Lulla, Rajiv   Comcast's       21      12        21            19      I
               Affirmative
               Designation
Lulla, Rajiv   Comcast's       21      21        22            1       I
               Affirmative
               Designation
Lulla, Rajiv   Comcast's       22       3        22            3       I
               Affirmative
               Designation
Lulla, Rajiv   Comcast's       23       6        23            11      I, F
               Affirmative
               Designation
Lulla, Rajiv   Comcast's       23      18        24            8       I, SM, F, R, O, P, H
               Affirmative
               Designation
Lulla, Rajiv   Comcast's       24      10        24            17      I, F, R, O, P, H, L
               Affirmative
               Designation
Lulla, Rajiv   Comcast's       24      19        24            23      I, F, R, O, P, H, L
               Affirmative
               Designation
Lulla, Rajiv   Comcast's       24      25        24            25      I, F, R, O, P, H, L
               Affirmative
               Designation
Lulla, Rajiv   Comcast's       26       1        26            12      I, F, R, O, P, H
               Affirmative
               Designation

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                         COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT        DESIGNATION      PAGE    LINE      PAGE      LINE         OBJECTIONS
                  TYPE
Lulla, Rajiv      Touchstream's     55      16        55            23      IMP; FRE 402, 403
                  Counter
                  Designation
Lulla, Rajiv      Touchstream's     63      22        64            7       IMP; FRE 106, 402,
                  Counter                                                   403
                  Designation
Lulla, Rajiv      Touchstream's     64      12        64            20      IMP; FRE 106, 402,
                  Counter                                                   403, 802
                  Designation
Lulla, Rajiv      Touchstream's     65      14        65            24      IMP; FRE 106, 402,
                  Counter                                                   403, 802
                  Designation
Lulla, Rajiv      Comcast's         66      24        67            13      I
                  Affirmative
                  Designation
Lulla, Rajiv      Comcast's         67      15        68            13      I, SM, P
                  Affirmative
                  Designation
Lulla, Rajiv      Touchstream's     68      14        68            23      IMP; FRE 402, 403
                  Counter
                  Designation
Lulla, Rajiv      Comcast's         78       5        78            8       I, F, R, O, P, H, U
                  Affirmative
                  Designation
Lulla, Rajiv      Comcast's         78      10        78            20      I, F, R, O, P, H, U
                  Affirmative
                  Designation
Lulla, Rajiv      Touchstream's     79      24        80            2       IMP; FRE 402, 403
                  Counter
                  Designation
Lulla, Rajiv      Touchstream's     80       4        80            4       IMP; FRE 402, 403
                  Counter
                  Designation
Lulla, Rajiv      Touchstream's     80      19        80            20      IMP; FRE 402, 403
                  Counter
                  Designation
Lulla, Rajiv      Touchstream's     80      22        81            1       IMP; FRE 402, 403
                  Counter
                  Designation
Pinard, Jeffrey   Comcast's         7        7         7            9
                  Affirmative
                  Designation
Pinard, Jeffrey   Touchstream's     7        7         7            9       IMP
                  Counter
                  Designation
Pinard, Jeffrey   Touchstream's     7       12         7            16      IMP
                  Counter
                  Designation

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                          COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT        DESIGNATION      PAGE    LINE      PAGE      LINE         OBJECTIONS
                  TYPE
Pinard, Jeffrey   Comcast's         8       10         8            21
                  Affirmative
                  Designation
Pinard, Jeffrey   Touchstream's     8       10         8            18      IMP
                  Counter
                  Designation
Pinard, Jeffrey   Comcast's         8       23         8            24
                  Affirmative
                  Designation
Pinard, Jeffrey   Touchstream's     9       14         9            21      IMP
                  Counter
                  Designation
Pinard, Jeffrey   Comcast's         11       9        12            3       I, F
                  Affirmative
                  Designation
Pinard, Jeffrey   Touchstream's     11      22        11            25      IMP; FRE 402, 403
                  Counter
                  Designation

Pinard, Jeffrey   Touchstream's     12       2        12            3       IMP; FRE 402, 403
                  Counter
                  Designation
Pinard, Jeffrey   Touchstream's     12       4        12            7       IMP; FRE 402, 403
                  Counter
                  Designation
Pinard, Jeffrey   Comcast's         12       8        12            20      I, F; DUP
                  Affirmative
                  Designation
Pinard, Jeffrey   Comcast's         12      22        12            24
                  Affirmative
                  Designation
Pinard, Jeffrey   Comcast's         13      11        13            25
                  Affirmative
                  Designation
Pinard, Jeffrey   Touchstream's     13      18        13            25      IMP; FRE 402, 403
                  Counter
                  Designation
Pinard, Jeffrey   Touchstream's     14       2        14            7       IMP; FRE 402, 403
                  Counter
                  Designation
Pinard, Jeffrey   Comcast's         14      19        16            17      I, H (15:22–16:9)
                  Affirmative
                  Designation
Pinard, Jeffrey   Touchstream's     16       9        16            23      IMP; FRE 402, 403
                  Counter
                  Designation



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                         COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT        DESIGNATION      PAGE    LINE      PAGE      LINE         OBJECTIONS
                  TYPE
Pinard, Jeffrey   Comcast's         16      24        17            12
                  Affirmative
                  Designation
Pinard, Jeffrey   Touchstream's     16      24        17            7       IMP; FRE 402, 403
                  Counter
                  Designation
Pinard, Jeffrey   Touchstream's     17      19        17            20      IMP; FRE 106, 402,
                  Counter                                                   403, 602
                  Designation
Pinard, Jeffrey   Touchstream's     18       5        18            15      IMP; FRE 106, 402,
                  Counter                                                   403, 602
                  Designation
Pinard, Jeffrey   Touchstream's     18      22        19            2       IMP; FRE 106, 402,
                  Counter                                                   403, 602
                  Designation
Pinard, Jeffrey   Touchstream's     19       3        19            21      IMP; FRE 106, 402,
                  Counter                                                   403, 602, 802 (19:3-
                  Designation                                               9)
Pinard, Jeffrey   Comcast's         20      24        21            2
                  Affirmative
                  Designation
Pinard, Jeffrey   Touchstream's     20      24        21            2       IMP; FRE 402, 403,
                  Counter                                                   602
                  Designation
Pinard, Jeffrey   Comcast's         21      13        22            22      I, H (22:5–11)
                  Affirmative                                               I, O (22:12–18)
                  Designation
Pinard, Jeffrey   Touchstream's     21      13        21            18      IMP; FRE 402, 403,
                  Counter                                                   602
                  Designation
Pinard, Jeffrey   Comcast's         22      25        23            13      I, H (22:25–23:9)
                  Affirmative
                  Designation
Pinard, Jeffrey   Touchstream's     23      21        23            25      IMP; FRE 402, 403
                  Counter
                  Designation
Pinard, Jeffrey   Touchstream's     24       2        24            19      IMP; FRE 402, 403
                  Counter
                  Designation
Pinard, Jeffrey   Touchstream's     24      25        24            25      IMP
                  Counter
                  Designation
Pinard, Jeffrey   Touchstream's     25       2        25            16      IMP
                  Counter
                  Designation
Pinard, Jeffrey   Touchstream's     25      21        25            25      IMP
                  Counter
                  Designation
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                         COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT        DESIGNATION      PAGE    LINE      PAGE      LINE         OBJECTIONS
                  TYPE
Pinard, Jeffrey   Touchstream's     26       2        26            2       IMP
                  Counter
                  Designation
Pinard, Jeffrey   Touchstream's     26      13        26            25      IMP
                  Counter
                  Designation
Pinard, Jeffrey   Touchstream's     27       2        27            7       IMP
                  Counter
                  Designation
Pinard, Jeffrey   Touchstream's     27      11        27            20      IMP; FRE 106, 402,
                  Counter                                                   403, 602, 802
                  Designation
Pinard, Jeffrey   Touchstream's     28       2        28            25      IMP; FRE 106, 402,
                  Counter                                                   403
                  Designation
Pinard, Jeffrey   Touchstream's     29       2        29            4       IMP; FRE 106, 402,
                  Counter                                                   403
                  Designation
Pinard, Jeffrey   Touchstream's     29      10        29            25      IMP; FRE 106, 402,
                  Counter                                                   403, 602, 802
                  Designation
Pinard, Jeffrey   Touchstream's     30       2        30            25      IMP; FRE 106, 402,
                  Counter                                                   403, 602, 802
                  Designation                                               (30:13-18)
Pinard, Jeffrey   Touchstream's     31       7        31            25      IMP; FRE 106, 402,
                  Counter                                                   403
                  Designation
Pinard, Jeffrey   Touchstream's     32       2        32            25      IMP; FRE 106, 402,
                  Counter                                                   403
                  Designation
Pinard, Jeffrey   Touchstream's     33       2        33            25      IMP; FRE 106, 402,
                  Counter                                                   403
                  Designation
Pinard, Jeffrey   Touchstream's     34       2        34            7       IMP; FRE 106, 402,
                  Counter                                                   403
                  Designation
Pinard, Jeffrey   Touchstream's     35      20        35            25      IMP; FRE 106, 402,
                  Counter                                                   403
                  Designation
Pinard, Jeffrey   Touchstream's     36       2        36            25      IMP; FRE 106, 402,
                  Counter                                                   403
                  Designation
Pinard, Jeffrey   Touchstream's     37       2        37            25      IMP; FRE 402, 403,
                  Counter                                                   602
                  Designation
Pinard, Jeffrey   Touchstream's     38       2        38            20      IMP; FRE 402, 403,
                  Counter                                                   602, 611 (38:18-22)
                  Designation

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                         COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT        DESIGNATION      PAGE    LINE      PAGE      LINE         OBJECTIONS
                  TYPE
Pinard, Jeffrey   Touchstream's     38      22        38            25      IMP; FRE 402, 403,
                  Counter                                                   602, 611 (38:18-22)
                  Designation
Pinard, Jeffrey   Touchstream's     39       2        39            25      IMP; FRE 402, 403,
                  Counter                                                   602
                  Designation
Pinard, Jeffrey   Touchstream's     40       2        40            25      IMP; FRE 106, 402,
                  Counter                                                   403, 602
                  Designation
Pinard, Jeffrey   Touchstream's     41       2        41            5       IMP; FRE 106, 402,
                  Counter                                                   403, 602
                  Designation
Pinard, Jeffrey   Touchstream's     42       2        42            7       IMP; FRE 106, 402,
                  Counter                                                   403, 602, 611
                  Designation
Pinard, Jeffrey   Touchstream's     42       9        42            16      IMP; FRE 106, 402,
                  Counter                                                   403, 602, 611 (42:9-
                  Designation                                               11)
Pinard, Jeffrey   Touchstream's     42      22        43            6       IMP; FRE 106, 402,
                  Counter                                                   403, 602
                  Designation
Pinard, Jeffrey   Touchstream's     43      19        43            25      IMP; FRE 106, 402,
                  Counter                                                   403, 602
                  Designation
Pinard, Jeffrey   Touchstream's     44       2        44            25      IMP; FRE 106, 402,
                  Counter                                                   403, 602, 802 (44:8-
                  Designation                                               25)
Pinard, Jeffrey   Touchstream's     45       2        45            13      IMP; FRE 106, 402,
                  Counter                                                   403, 602, 802 (45:2-
                  Designation                                               4)
Pinard, Jeffrey   Touchstream's     45      16        45            19      IMP; FRE 106, 402,
                  Counter                                                   403, 602
                  Designation
Pinard, Jeffrey   Touchstream's     45      25        45            25      IMP; FRE 106, 402,
                  Counter                                                   403, 602
                  Designation
Pinard, Jeffrey   Touchstream's     46       2        46            25      IMP; FRE 106, 402,
                  Counter                                                   403, 602
                  Designation
Pinard, Jeffrey   Touchstream's     47       7        47            10      IMP; FRE 106, 402,
                  Counter                                                   403, 602
                  Designation
Pinard, Jeffrey   Touchstream's     47      18        47            25      IMP; FRE 106, 402,
                  Counter                                                   403, 602, 802
                  Designation
Pinard, Jeffrey   Touchstream's     48       2        48            18      IMP; FRE 106, 402,
                  Counter                                                   403, 602, 802 (48:2-
                  Designation                                               5)

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                          COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT         DESIGNATION      PAGE    LINE      PAGE      LINE         OBJECTIONS
                   TYPE
Pinard, Jeffrey    Touchstream's     50       3        50            15      IMP; FRE 106, 402,
                   Counter                                                   403, 602
                   Designation
Pinard, Jeffrey    Touchstream's     50      24        50            25      IMP; FRE 106, 402,
                   Counter                                                   403, 602
                   Designation
Pinard, Jeffrey    Touchstream's     51       2        51            13      IMP; FRE 106, 402,
                   Counter                                                   403, 602
                   Designation
Pinard, Jeffrey    Touchstream's     51      19        51            25      IMP; FRE 106, 402,
                   Counter                                                   403, 602
                   Designation
Pinard, Jeffrey    Touchstream's     52       2        52            25      IMP; FRE 106, 402,
                   Counter                                                   403, 602, 802 (52:4-
                   Designation                                               8)
Pinard, Jeffrey    Touchstream's     53       2        53            3       IMP; FRE 106, 402,
                   Counter                                                   403, 602
                   Designation
Pinard, Jeffrey    Touchstream's     53      11        53            25      IMP; FRE 106, 402,
                   Counter                                                   403, 602, 802
                   Designation                                               (53:11-15)
Pinard, Jeffrey    Touchstream's     54       2        54            5       IMP; FRE 402, 403
                   Counter
                   Designation
Pinard, Jeffrey    Touchstream's     54      16        54            25      IMP; FRE 402, 403,
                   Counter                                                   602
                   Designation
Pinard, Jeffrey    Touchstream's     55       2        55            23      IMP; FRE 402, 403,
                   Counter                                                   602, 611 (55:19-23)
                   Designation
Pinard, Jeffrey    Touchstream's     56       3        56            5       IMP; FRE 402, 403,
                   Counter                                                   602, 611
                   Designation
Pinard, Jeffrey    Touchstream's     56      14        56            14      IMP; FRE 402, 403,
                   Counter                                                   602, 611
                   Designation
Pinard, Jeffrey    Touchstream's     57      21        57            25      IMP; FRE 402, 403,
                   Counter                                                   602
                   Designation
Pinard, Jeffrey    Touchstream's     58       2        58            8       IMP; FRE 402, 403,
                   Counter                                                   602
                   Designation
Rinzler, Michael   Comcast's         5       24         5            25
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's         8       22         9            10
                   Affirmative
                   Designation

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                           COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT         DESIGNATION      PAGE    LINE      PAGE      LINE         OBJECTIONS
                   TYPE
Rinzler, Michael   Comcast's         9       20        10            2
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's         10      11        10            15
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's         11       8        11            18
                   Affirmative
                   Designation
Rinzler, Michael   Touchstream's     18      13        18            20      IMP, 402, 403, 602
                   Counter
                   Designation



Rinzler, Michael   Comcast's         21      10        21            15      I
                   Affirmative
                   Designation
Rinzler, Michael   Touchstream's     21      16        22            7       IMP
                   Counter
                   Designation
Rinzler, Michael   Comcast's         26      22        26            25
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's         29       7        29            9       I
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's         29      13        29            16      I
                   Affirmative
                   Designation
Rinzler, Michael   Touchstream's     29      21        30            19      IMP; FRE 602
                   Counter
                   Designation
Rinzler, Michael   Touchstream's     40      23        41            12      IMP; FRE 402, 403
                   Counter
                   Designation
Rinzler, Michael   Comcast's         41      18        42            4       I, SM
                   Affirmative
                   Designation
Rinzler, Michael   Touchstream's     41      23        42            2       IMP; FRE 106
                   Counter
                   Designation
Rinzler, Michael   Touchstream's     58       3        58            7       IMP
                   Counter
                   Designation
Rinzler, Michael   Comcast's         58       8        58            13      I, SM
                   Affirmative
                   Designation

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                          COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT         DESIGNATION      PAGE    LINE      PAGE      LINE         OBJECTIONS
                   TYPE
Rinzler, Michael   Comcast's         60       5        60            8
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's         60      10        60            13      I
                   Affirmative
                   Designation
Rinzler, Michael   Touchstream's     60      14        60            19      IMP; FRE 402, 403
                   Counter
                   Designation
Rinzler, Michael   Touchstream's     61       9        61            16      IMP; FRE 402, 403
                   Counter
                   Designation
Rinzler, Michael   Comcast's         62      14        62            19
                   Affirmative
                   Designation
Rinzler, Michael   Touchstream's     69       6        69            12      IMP; FRE 402, 403
                   Counter
                   Designation
Rinzler, Michael   Comcast's         81      21        82            5
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's         84       6        85            6       I
                   Affirmative
                   Designation
Rinzler, Michael   Touchstream's     85       5        85            19      IMP; FRE 106, 402,
                   Counter                                                   403
                   Designation
Rinzler, Michael   Comcast's         86      19        87            4       I
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's         87      16        88            2       I
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's         88      11        88            15      I
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's         94      21        95            5
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's         95       8        95            16
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's         95      20        96            11
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's         96      22        96            25
                   Affirmative
                   Designation

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                          COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT         DESIGNATION      PAGE    LINE      PAGE      LINE         OBJECTIONS
                   TYPE
Rinzler, Michael   Comcast's         97       8        97            10      F
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's         99       5        99            12
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        100       5        100           23
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        101       7        101           10
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        101      16        101           20
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        102       5        102           10
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        102      16        102           19
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        103       5        103           8
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        103      13        103           14
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        103      19        103           22
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        103      25        104           3
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        104      15        104           18
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        105      10        105           13
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        105      19        106           2
                   Affirmative
                   Designation
Rinzler, Michael   Touchstream's     106     19        107           10      IMP; FRE 402, 403
                   Counter
                   Designation
Rinzler, Michael   Comcast's        106      23        106           25
                   Affirmative
                   Designation

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                          COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT         DESIGNATION      PAGE    LINE      PAGE      LINE         OBJECTIONS
                   TYPE
Rinzler, Michael   Comcast's        107      11        107           15
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        108      19        109           2
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        109      15        109           18
                   Affirmative
                   Designation
Rinzler, Michael   Touchstream's     109     19        110           13      IMP; FRE 402, 403
                   Counter
                   Designation
Rinzler, Michael   Comcast's        109      22        110           17
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        112      19        113           13      I
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        113      16        114           6       I
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        115      17        115           25      I
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        116       8        116           14      I
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        118      11        118           16      I
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        120       3        120           7       I
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        121       8        121           23      I
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        122       8        122           24      I
                   Affirmative
                   Designation
Rinzler, Michael   Touchstream's     128     13        128           19      IMP; FRE 106, 402,
                   Counter                                                   403, 802
                   Designation
Rinzler, Michael   Comcast's        128      22        129           19
                   Affirmative
                   Designation
Rinzler, Michael   Touchstream's     128     22        129           19      IMP; FRE 106, 402,
                   Counter                                                   403
                   Designation

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                          COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT         DESIGNATION      PAGE    LINE      PAGE      LINE         OBJECTIONS
                   TYPE
Rinzler, Michael   Comcast's        130      10        130           16
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        130      21        130           23
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        131       7        131           13
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        132      23        133           2
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        133      12        133           15
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        133      20        133           24
                   Affirmative
                   Designation
Rinzler, Michael   Touchstream's     133     25        134           3       IMP; FRE 402, 403
                   Counter
                   Designation
Rinzler, Michael   Comcast's        134       8        134           19
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        135       4        135           14
                   Affirmative
                   Designation
Rinzler, Michael   Touchstream's     135      9        136           4       IMP; FRE 402, 403
                   Counter
                   Designation
Rinzler, Michael   Comcast's        136      11        136           15
                   Affirmative
                   Designation
Rinzler, Michael   Touchstream's     136     16        137           6       IMP; FRE 402, 403
                   Counter
                   Designation
Rinzler, Michael   Comcast's        137       7        137           10
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        138       2        138           3
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        138       8        138           9
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        138      18        138           23
                   Affirmative
                   Designation

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                          COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT         DESIGNATION      PAGE    LINE      PAGE      LINE         OBJECTIONS
                   TYPE
Rinzler, Michael   Comcast's        139       5        139           10
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        139      13        141           5
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        141      25        142           12      I
                   Affirmative
                   Designation
Rinzler, Michael   Touchstream's     142      7        142           12      IMP; FRE 402, 403
                   Counter
                   Designation
Rinzler, Michael   Comcast's        142      20        142           22      I
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        142      24        142           24
                   Affirmative
                   Designation
Rinzler, Michael   Touchstream's     148      8        149           10      IMP; Atty
                   Counter
                   Designation
Rinzler, Michael   Touchstream's     148      8        148           12      IMP
                   Counter
                   Designation
Rinzler, Michael   Touchstream's     148     17        148           24      IMP
                   Counter
                   Designation
Rinzler, Michael   Touchstream's     149      2        149           10      IMP
                   Counter
                   Designation
Rinzler, Michael   Touchstream's     156     24        157           6       IMP; FRE 106, 402,
                   Counter                                                   403
                   Designation
Rinzler, Michael   Touchstream's     157     11        157           21      IMP; FRE 106, 402,
                   Counter                                                   403
                   Designation
Rinzler, Michael   Touchstream's     157     22        158           22      IMP; FRE 402, 403;
                   Counter                                                   Atty
                   Designation
Rinzler, Michael   Touchstream's     162     11        163           8       IMP; FRE 106, 402,
                   Counter                                                   403
                   Designation
Rinzler, Michael   Touchstream's     163     16        163           19      IMP; FRE 402, 403,
                   Counter                                                   611
                   Designation
Rinzler, Michael   Touchstream's     164      7        164           21      IMP; FRE 106, 402,
                   Counter                                                   403, 611, 802; Atty
                   Designation

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                          COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT         DESIGNATION      PAGE    LINE      PAGE      LINE         OBJECTIONS
                   TYPE
Rinzler, Michael   Touchstream's     164     22        166           25      IMP; FRE 106, 402,
                   Counter                                                   403, 611; Atty
                   Designation
Rinzler, Michael   Touchstream's     169      7        169           21      IMP; FRE 106, 402,
                   Counter                                                   403; Atty
                   Designation
Rinzler, Michael   Comcast's        208      20        208           22
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        208      24        209           3
                   Affirmative
                   Designation
Rinzler, Michael   Comcast's        209       5        209           5
                   Affirmative
                   Designation
Rinzler, Michael   Touchstream's     211     21        212           6       IMP; FRE 106, 402,
                   Counter                                                   403
                   Designation
Rinzler, Michael   Touchstream's     212     12        212           20      IMP; FRE 106, 402,
                   Counter                                                   403
                   Designation
Rinzler, Michael   Touchstream's     212     24        213           4       IMP; FRE 106, 402,
                   Counter                                                   403
                   Designation
Yaccarino, Linda   Comcast's         6       13         6            19      I, O, P
                   Affirmative
                   Designation
Yaccarino, Linda   Touchstream's      6      13         6            13      IMP
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's      6      25         7            3       IMP
                   Counter
                   Designation
Yaccarino, Linda   Comcast's         8       11         8            23      I, O, P
                   Affirmative
                   Designation
Yaccarino, Linda   Touchstream's      8      13         8            23      IMP
                   Counter
                   Designation
Yaccarino, Linda   Comcast's         9        1         9            2       I, O, P
                   Affirmative
                   Designation
Yaccarino, Linda   Touchstream's      9       4         9            10      IMP
                   Counter
                   Designation
Yaccarino, Linda   Comcast's         9       11        10            18      I
                   Affirmative
                   Designation

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                          COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT         DESIGNATION      PAGE    LINE      PAGE      LINE         OBJECTIONS
                   TYPE
Yaccarino, Linda   Touchstream's     9       11         9            13      IMP
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     9       17         9            23      IMP
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     10      11        10            18      IMP
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     10      19        10            22      IMP
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     11      13        11            24      IMP
                   Counter
                   Designation
Yaccarino, Linda   Comcast's         12       7        12            18      I
                   Affirmative
                   Designation
Yaccarino, Linda   Touchstream's     12       7        12            14      IMP; FRE 402, 403
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     12      15        12            18      IMP; FRE 402, 403
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     13       4        13            12      IMP, FRE 402, 403
                   Counter
                   Designation
Yaccarino, Linda   Comcast's         13       9        13            12      I
                   Affirmative
                   Designation
Yaccarino, Linda   Touchstream's     15      19        16            5       IMP; FRE 106, 402,
                   Counter                                                   403
                   Designation
Yaccarino, Linda   Comcast's         16      13        16            19      I
                   Affirmative
                   Designation
Yaccarino, Linda   Touchstream's     16      13        16            19      IMP; FRE 402, 403
                   Counter
                   Designation
Yaccarino, Linda   Comcast's         17       1        17            4       I
                   Affirmative
                   Designation
Yaccarino, Linda   Touchstream's     17       1        17            4       IMP; FRE 402, 403
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     17      22        18            1       IMP; FRE 402, 403,
                   Counter                                                   602; Atty
                   Designation
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                          COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT         DESIGNATION      PAGE    LINE      PAGE      LINE         OBJECTIONS
                   TYPE
Yaccarino, Linda   Touchstream's     18       7        18            14      IMP; FRE 402, 403,
                   Counter                                                   602; Atty
                   Designation
Yaccarino, Linda   Comcast's         19      19        19            21      I
                   Affirmative
                   Designation
Yaccarino, Linda   Touchstream's     19      19        19            21      IMP; FRE 402, 403
                   Counter
                   Designation
Yaccarino, Linda   Comcast's         19      25        20            5       I
                   Affirmative
                   Designation
Yaccarino, Linda   Touchstream's     19      25        20            4       IMP; FRE 402, 403
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     20       5        20            5       IMP; FRE 402, 403
                   Counter
                   Designation
Yaccarino, Linda   Comcast's         20      20        21            2       I
                   Affirmative
                   Designation
Yaccarino, Linda   Touchstream's     20      20        21            2       IMP; FRE 106, 402,
                   Counter                                                   403
                   Designation
Yaccarino, Linda   Comcast's         21       6        21            12      I
                   Affirmative
                   Designation
Yaccarino, Linda   Comcast's         21      17        21            22      I
                   Affirmative
                   Designation
Yaccarino, Linda   Comcast's         22      11        22            19      I
                   Affirmative
                   Designation
Yaccarino, Linda   Touchstream's     22      11        22            19      IMP; FRE 106, 402,
                   Counter                                                   403
                   Designation
Yaccarino, Linda   Touchstream's     22      24        23            3       IMP; FRE 106, 402,
                   Counter                                                   403
                   Designation
Yaccarino, Linda   Comcast's         24      15        24            17      I
                   Affirmative
                   Designation
Yaccarino, Linda   Touchstream's     24      15        24            17      IMP; FRE 106, 402,
                   Counter                                                   403
                   Designation
Yaccarino, Linda   Comcast's         24      21        24            23      I
                   Affirmative
                   Designation

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                          COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT         DESIGNATION      PAGE    LINE      PAGE      LINE         OBJECTIONS
                   TYPE
Yaccarino, Linda   Comcast's         25       6        26            11      I
                   Affirmative
                   Designation
Yaccarino, Linda   Comcast's         27      14        28            7       I
                   Affirmative
                   Designation
Yaccarino, Linda   Comcast's         28      23        29            2       I ,IM, F, R, O, P
                   Affirmative
                   Designation
Yaccarino, Linda   Comcast's         29       4        29            8       I ,IM, F, R, O, P
                   Affirmative
                   Designation
Yaccarino, Linda   Comcast's         29      11        29            16      I
                   Affirmative
                   Designation
Yaccarino, Linda   Touchstream's     29      11        29            16      IMP; FRE 402, 403
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     31       6        31            9       IMP; FRE 402, 403
                   Counter
                   Designation
Yaccarino, Linda   Comcast's         31      17        32            3       I
                   Affirmative
                   Designation
Yaccarino, Linda   Comcast's         32      15        32            16      I
                   Affirmative
                   Designation
Yaccarino, Linda   Touchstream's     32      15        32            16      IMP; FRE 402, 403
                   Counter
                   Designation
Yaccarino, Linda   Comcast's         32      20        32            22      I
                   Affirmative
                   Designation
Yaccarino, Linda   Touchstream's     32      20        33            1       IMP; FRE 402, 403
                   Counter
                   Designation
Yaccarino, Linda   Comcast's         33       2        33            8       I
                   Affirmative
                   Designation
Yaccarino, Linda   Comcast's         33      18        33            20      I, IM, F, R, O, P
                   Affirmative
                   Designation
Yaccarino, Linda   Comcast's         33      23        34            1       I, IM, F, R, O, P
                   Affirmative
                   Designation
Yaccarino, Linda   Comcast's         34      13        34            14      I
                   Affirmative
                   Designation

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                          COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT         DESIGNATION      PAGE    LINE      PAGE      LINE         OBJECTIONS
                   TYPE
Yaccarino, Linda   Comcast's         34      17        35            8       I
                   Affirmative
                   Designation
Yaccarino, Linda   Comcast's         35      10        35            16      I
                   Affirmative
                   Designation
Yaccarino, Linda   Comcast's         36       2        36            12      I
                   Affirmative
                   Designation
Yaccarino, Linda   Comcast's         36      22        37            7       I
                   Affirmative
                   Designation
Yaccarino, Linda   Comcast's         37      11        39            4       I, F, R, O, P, H
                   Affirmative
                   Designation
Yaccarino, Linda   Comcast's         39       6        39            12      I, F, R, O, P, H
                   Affirmative
                   Designation
Yaccarino, Linda   Touchstream's     39      10        39            12      IMP
                   Counter
                   Designation
Yaccarino, Linda   Comcast's         39      21        40            3       I
                   Affirmative
                   Designation
Yaccarino, Linda   Touchstream's     39      21        39            23      IMP
                   Counter
                   Designation
Yaccarino, Linda   Comcast's         40       5        40            14      I
                   Affirmative
                   Designation
Yaccarino, Linda   Comcast's         40      16        40            21      I
                   Affirmative
                   Designation
Yaccarino, Linda   Comcast's         41       2        41            10      I
                   Affirmative
                   Designation
Yaccarino, Linda   Comcast's         42       4        42            6       I, R, P
                   Affirmative
                   Designation
Yaccarino, Linda   Comcast's         42       8        42            16      I, R, P
                   Affirmative
                   Designation
Yaccarino, Linda   Touchstream's     43      13        43            16      IMP; FRE 402, 403
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     43      19        43            19      IMP; FRE 402, 403
                   Counter
                   Designation

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                          COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT         DESIGNATION      PAGE    LINE      PAGE      LINE         OBJECTIONS
                   TYPE
Yaccarino, Linda   Touchstream's     43      20        44            1       IMP
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     44      13        44            14      IMP
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     44      16        44            16      IMP
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     44      21        44            22      IMP
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     44      24        44            24      IMP
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     44      25        45            1       IMP
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     45       8        45            22      IMP
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     45      23        45            23      IMP
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     46      13        46            16      IMP
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     46      17        46            17      IMP
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     46      20        46            22      IMP
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     46      25        47            2       IMP
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     47       4        47            11      IMP; FRE 402, 403
                   Counter
                   Designation
Yaccarino, Linda   Comcast's         48      11        48            12      I
                   Affirmative
                   Designation
Yaccarino, Linda   Comcast's         48      14        48            14      I
                   Affirmative
                   Designation
Yaccarino, Linda   Touchstream's     48      18        48            19      IMP
                   Counter
                   Designation

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                          COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT         DESIGNATION      PAGE    LINE      PAGE      LINE         OBJECTIONS
                   TYPE
Yaccarino, Linda   Touchstream's     48      21        48            21      IMP
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     49       8        49            9       IMP
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     49      11        49            16      IMP
                   Counter
                   Designation
Yaccarino, Linda   Touchstream's     50      17        50            22      IMP; FRE 106, 402,
                   Counter                                                   403
                   Designation
Yaccarino, Linda   Touchstream's     50      23        51            1       IMP; FRE 106, 402,
                   Counter                                                   403
                   Designation
Yaccarino, Linda   Touchstream's     51       3        51            3       IMP; FRE 106, 402,
                   Counter                                                   403
                   Designation
Yaccarino, Linda   Touchstream's     54      13        54            18      IMP; FRE 106, 402,
                   Counter                                                   403
                   Designation
Yaccarino, Linda   Touchstream's     54      19        55            3       IMP; FRE 106, 402,
                   Counter                                                   403
                   Designation
Yaccarino, Linda   Touchstream's     55      11        55            21      IMP; FRE 106, 402,
                   Counter                                                   403
                   Designation
Yaccarino, Linda   Touchstream's     55      23        55            25      IMP; FRE 106, 402,
                   Counter                                                   403
                   Designation
Yaccarino, Linda   Touchstream's     56       1        56            3       IMP; FRE 106, 402,
                   Counter                                                   403
                   Designation
Yaccarino, Linda   Touchstream's     57       2        58            5       IMP; FRE 106, 402,
                   Counter                                                   403, 802
                   Designation
Yaccarino, Linda   Touchstream's     58      10        58            19      IMP; FRE 106, 402,
                   Counter                                                   403, 602, 802
                   Designation
Yaccarino, Linda   Touchstream's     58      19        58            22      IMP; FRE 106, 402,
                   Counter                                                   403, 602, 611, 802
                   Designation
Yaccarino, Linda   Touchstream's     58      24        58            24      IMP; FRE 106, 402,
                   Counter                                                   403, 611
                   Designation
Yaccarino, Linda   Touchstream's     58      25        59            3       IMP; FRE 106, 402,
                   Counter                                                   403, 602, 611
                   Designation

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                          COMCAST'S DEPOSITION DESIGNATIONS
TRANSCRIPT         DESIGNATION      PAGE    LINE      PAGE      LINE         OBJECTIONS
                   TYPE
Yaccarino, Linda   Touchstream's     59      10        59            10      IMP; FRE 106, 402,
                   Counter                                                   403, 602, 611
                   Designation
Yaccarino, Linda   Touchstream's     59      14        59            16      IMP; FRE 106, 402,
                   Counter                                                   403, 611
                   Designation
Yaccarino, Linda   Touchstream's     59      18        59            18      IMP; FRE 106, 402,
                   Counter                                                   403, 602, 611
                   Designation
Yaccarino, Linda   Touchstream's     60       5        60            21      IMP; FRE 106, 402,
                   Counter                                                   403, 602, 611, 802
                   Designation
Yaccarino, Linda   Touchstream's     60      24        61            8       IMP; FRE 106, 402,
                   Counter                                                   403, 602, 802
                   Designation
Yaccarino, Linda   Touchstream's     61      15        62            19      IMP; FRE 106, 402,
                   Counter                                                   403, 802
                   Designation
Yaccarino, Linda   Comcast's         64      18        64            18      I
                   Affirmative
                   Designation
Yaccarino, Linda   Comcast's         64      20        64            20      I
                   Affirmative
                   Designation
Yaccarino, Linda   Comcast's         69       1        69            10      I
                   Affirmative
                   Designation




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                            COMCAST’S OBJECTION KEY

      FRE 106     Requires other material that in fairness ought to be considered at the
                  same time

      FRE 402     Irrelevant

      FRE 403     Probative value substantially outweighed by unfair prejudice,
                  confusion, etc.

      FRE 602     Lack of personal knowledge

      FRE 611     Form of question, including compound, vague, misleading, lack of
                  foundation, etc.

      FRE 701     Improper lay opinion testimony

      FRE 802     Hearsay

      FRE 901     Lack of authentication

      FRCP 26     Inconsistent with pre-trial disclosures

      FRCP 32     Improper use of deposition testimony, including because of
                  availability of witness

      S           Lack of sponsoring witness to lay foundation

      Atty        Attorney colloquy or objections, which should be excluded under
                  Fed. R. Evid. 402 and/or 403

      IMP         Improper counter designation, which is an improper application of
                  Fed. R. Evid. 106 and is inadmissible because it is unduly prejudicial,
                  hearsay, and/or an untimely-disclosed affirmative deposition
                  designation
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    Touchstream's Objection Key

Abbreviation                      Definition
A                                 Authentication, FRE 901/902
D                                 Demonstrative/Should not be admitted into evidence
I                                 “Incomplete”/Completeness, FRE 106
IM                                Improper – not evidence of anything
F                                 Foundation, FRE 602, 901
H                                 Hearsay, FRE 801, 802, 805
R                                 Relevance, FRE 401, 402
O                                 Overbroad, FRE 402
P                                 Prejudicial, FRE 403
U                                 Untimely / Never Produced / Not Produced During Discovery, FRCP 26, 37
DUP                               Duplicative
SM                                Subject to Motion (Daubert and/or motion in limine )
ND                                Testimony has not been designated
FRCP 32                           Deposition not admissible as exhibit
SO                                Violating the Court's Standing Order On The Number And Use Of Pre-Admitted
                                  Exhibits In Civil Cases Assigned To Chief Judge Rodney Gilstrap
IMS                               FRE 1006
FORM                              Form
SPEC                              Speculation
PRIV                              Privileged




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